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U.S. Department of Justice
Environment and Natural
Resources Division

 

 

Environmental Crimes Section Telephone (202) 305-0321
P.O. Box 7611 Facsimile (202) 514-8865
Washington, DC 20044

June 3, 2019 .

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Stacey Halliday, Esq. Clerk, U.S. District & Bankruptcy
Beveridge & Diamond PC Courts for the District of Columbia
1350 I Street NW

Suite 700

Washington, DC 20005-3311

SHalliday@bdlaw.com

By electronic mail

Re: United States v. Mohammad Sikder
Criminal Case No. / 9- / 16 -/[ (Aas)

Dear Mr. Anderson and Ms. Halliday:

 

This letter sets forth the full and complete plea offer to your client, Mohammed Sikder
(hereinafter referred to as “your client” or “defendant’’), from the Environmental Crimes Section
of the Department of Justice (hereinafter referred to as “the Government” or “this Office”). This
plea offer expires on June 7, 2019. If your client accepts the terms and conditions of this offer,
please have your client execute this document in the space provided below. Upon receipt of the
executed document, this letter will become the Plea Agreement (hereinafter referred to as “this
Agreement”). The terms of the offer are as follows:

1. Charges and Statutory Penalties

Your client agrees to plead guilty to a criminal Information, a copy of which is attached,
charging your client with two violations of the Toxic Substances Control Act (TSCA), 15 U.S.C.

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§ 2615(b)(1), specifically non-compliance with the Renovation, Repair, and Painting Rule, in
violation of 15 U.S.C. § 2689, and non-compliance with the Disclosure Rule, also in violation of
15 U.S.C. § 2689.

Your client understands that a violation of TSCA carries a maximum sentence of | year
of imprisonment; a fine of $100,000 or twice the pecuniary gain or loss of the offense, pursuant
to 18 U.S.C. § 3571(d); a term of supervised release of not more than | year, pursuant to
18 U.S.C. § 3583(b)(3); and an obligation to pay any applicable interest or penalties on fines and
restitution not timely made.

In addition, your client agrees to pay a special assessment of $25 per misdemeanor
conviction to the Clerk of the United States District Court for the District of Columbia. Your
client also understands that, pursuant to 18 U.S.C. § 3572 and § SE1.2 of the United States
Sentencing Commission, Guidelines Manual (2018) (hereinafter “Sentencing Guidelines,”
“Guidelines,” or “U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the
federal government the costs of any imprisonment, term of supervised release, and period of
probation. Further, your client understands that, if your client has two or more convictions for a
crime of violence or felony drug offense, your client may be subject to the substantially higher
penalties provided for in the career-offender statutes and provisions of the Sentencing
Guidelines.

2. Wiring

Your client understands and acknowledges that this Agreement and any plea of guilty
which your client may enter pursuant to this Agreement are contingent upon the entry of a guilty
plea by DISTRICT PROPERTIES, LLC, in this case. If either or both of these co-defendants
fails to enter a guilty plea, this Agreement and any proceedings pursuant to this Agreement may
be withdrawn or voided at the option of this Office.

3. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offenses to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

4, Additional Charges

In consideration of your client’s guilty plea to the above offenses, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense.

5. Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the

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Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines

The parties agree that the two counts in the Information group together pursuant to
ULS.S.G., § 3D1.2, and that the following Sentencing Guidelines sections apply:

U.S.S.G. § 2Q1.2(a) Base Offense Level 8

U.S.S.G. § 2Q1.2(b)(1)(A), Note 5 (Repetitive release) 4

U.S.S.G. § 3B1.1, Note 2 (Leader/Organizer of criminal activity) 1
Total 13

B. Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this
Agreement.

In accordance with the above, the Estimated Offense Level will be at least 11.
C. Estimated Criminal History Category

Based upon the information now available to this Office, your client has no criminal
convictions.

Accordingly, your client is estimated to have no criminal history points and your client’s
Criminal History Category is estimated to be | (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

D. Estimated Guidelines Range

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Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 8 months to 14 months
(the “Estimated Guidelines Range”).

The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. The parties also agree that neither party will seek
any offense-level calculation different from the Estimated Offense Level calculated above in
subsection A. However, the parties are free to argue for a Criminal History Category different
from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, that will not be a basis for withdrawal or recission of this Agreement by
either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level
based on that post-agreement conduct.

6. Agreement as to Sentencing Allocution

The parties recognize that the statutory maximum sentence for each count of the
Information is 12 months, and agree to recommend that sentences for each count should run
concurrently pursuant to 18 U.S.C. §§ 3584 and 3553(a). The parties further agree that, in light
of the Estimated Guidelines Range of 8-14 months, a sentence of 8 months would constitute a
reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a), should such a
sentence be subject to appellate review notwithstanding the appeal waiver provided below.
Nevertheless, your client reserves the right to seek a sentence below 8 months based upon factors
to be considered in imposing a sentence pursuant to 18 U.S.C. § 3553(a).

7. Agreement as to Fine

The parties agree to jointly recommend a fine of $50,000, irrespective of the Court’s
determination as to any sentence of incarceration.

8. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,

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including any misconduct not described in the charges to which your client is pleading guilty.
The parties also reserve the right to inform the presentence report writer and the Court of any
relevant facts, to dispute any factual inaccuracies in the presentence report, and to contest any
matters not provided for in this Agreement. In the event that the Court considers any Sentencing
Guidelines adjustments, departures, or calculations different from those agreed to and/or
estimated in this Agreement, or contemplates a sentence outside the Guidelines range based upon
the general sentencing factors listed in 18 U.S.C. § 3553(a), the parties reserve the right to
answer any related inquiries from the Court and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

9, Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged offenses
authorizes the Court to impose any sentence, up to and including the statutory maximum
sentence, which may be greater than the applicable Guidelines range. The Government cannot,
and does not, make any promise or representation as to what sentence your client will receive.
Moreover, it is understood that your client will have no right to withdraw your client’s plea of
guilty should the Court impose a sentence that is outside the Guidelines range or if the Court
does not follow the Government’s sentencing recommendation. The Government and your client
will be bound by this Agreement, regardless of the sentence imposed by the Court. Any effort
by your client to withdraw the guilty plea because of the length of the sentence shall constitute a
breach of this Agreement.

10. Conditions of Release

Your client acknowledges that, although the Government will not seek a change in your
client’s release conditions pending sentencing, the final decision regarding your client’s bond
status or detention will be made by the Court at the time of your client’s plea of guilty. The
Government may move to change your client’s conditions of release, including requesting that
your client be detained pending sentencing, if your client engages in further criminal conduct

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prior to sentencing or if the Government obtains information that it did not possess at the time of
your client’s plea of guilty and that is relevant to whether your client is likely to flee or pose a
danger to any person or the community. Your client also agrees that any violation of your
client’s release conditions or any misconduct by your client may result in the Government filing
an ex parte motion with the Court requesting that a bench warrant be issued for your client’s
arrest and that your client be detained without bond while pending sentencing in your client’s
case.

11. Waivers
A. Statute of Limitations

Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this Agreement)
may be commenced or reinstated against your client, notwithstanding the expiration of the statute
of limitations between the signing of this Agreement and the commencement or reinstatement of
such prosecution. It is the intent of this Agreement to waive all defenses based on the statute of
limitations with respect to any prosecution of conduct set forth in the attached Statement of
Offense that is not time-barred on the date that this Agreement is signed.

B. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

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Your client acknowledges discussing with you Rule 1 1(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the
date for sentencing will be set by the Court.

C. Appeal Rights

Your client agrees to waive the right to appeal the conviction in this case on any basis
permitted by law, including but not limited to claim(s) that (1) the statute(s) to which your client
is pleading guilty is unconstitutional, and (2) the admitted conduct does not fall within the scope
of the statute(s). Your client understands that federal law, specifically 18 U.S.C. § 3742, affords
defendants the right to appeal their sentences in certain circumstances. Your client also agrees to
waive the right to appeal the sentence in this case, including but not limited to any term of
imprisonment, fine, forfeiture, award of restitution, term or condition of supervised release,
authority of the Court to set conditions of release, and the manner in which the sentence was
determined, except to the extent the Court sentences your client above the statutory maximum or
guidelines range determined by the Court. In agreeing to this waiver, your client is aware that
your client’s sentence has yet to be determined by the Court. Realizing the uncertainty in
estimating what sentence the Court ultimately will impose, your client knowingly and willingly
waives your client’s right to appeal the sentence, to the extent noted above, in exchange for the
concessions made by the Government in this Agreement. Notwithstanding the above agreement
to waive the right to appeal the conviction and sentence, your client retains the right to appeal on
the basis of ineffective assistance of counsel, but not to raise on appeal other issues regarding the
conviction or sentence.

D. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c)(2). but agrees to waive the right to appeal the denial of such a motion.

12. Restitution

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Your client understands that the Court has an obligation to determine whether, and in
what amount, mandatory restitution applies in this case under 18 U.S.C. § 3663A. The
Government and your client agree that the complication and prolongation of the sentencing
process that would result from an attempt to fashion a restitution order outweigh the need to
provide restitution to non-governmental victims, if any, in this case.

Your client certifies that your client has made no transfer of assets in contemplation of
this prosecution for the purpose of evading or defeating financial obligations that are created by
this Agreement and/or that may be imposed by the Court. In addition, your client promises to
make no such transfers in the future until your client has fulfilled the financial obligations under
this Agreement.

13. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal
Rules of Criminal Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s
obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

14. Complete Agreement

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No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and a Trial Attorney for the Environmental Crimes
Section.

Your client further understands that this Agreement is binding only upon the
Environment and Natural Resources Division of the Department of Justice. This Agreement
does not bind any United States Attorney’s Office, nor does it bind any other state, local, or
federal prosecutor. It also does not bar or compromise any civil, tax, or administrative claim
pending or that may be made against your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
June 7, 2019.

Sincerely yours,

/s/ Cassandra Barnum Lod

Cassandra Barnum
Trial Attorney
Environmental Crimes Section
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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorneys, Peter
Anderson and Stacey Halliday. I fully understand this Agreement and agree to it without
reservation. I do this voluntarily and of my own free will, intending to be legally bound. No
threats have been made to me nor am J under the influence of anything that could impede my
ability to understand this Agreement fully. I am pleading guilty because I am in fact guilty of the
offense(s) identified in this Agreement.

I reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

Date: b/dd / q U4 os

ohaamad Sikder
fendant

ATTORNEY'S ACKNOWLEDGMENT

 

I have read every page of this Agreement, reviewed this Agreement with my client,
Mohammed Sikder, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. I concur in my client’s desire to
plead guilty as set forth in this Agreement.

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Peter Anderson, Esq.
Attorney for Defendant

 

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